
PER CURIAM.
Appellant, a patient at Florida State Hospital, filed a Petition for a Writ of Habeas Corpus to the Circuit Court for Gadsden County. The trial judge denied the petition on the ground that since the petitioner was committed by the Circuit Court of Leon County, jurisdiction did not lie in Gadsden County in the habeas action. We reverse.
Section 394.459(10), Florida Statutes (1977), provides that a patient may file a Petition for Writ of Habeas Corpus “in the circuit court in the county where the patient is hospitalized . . .” Since appellant is a patient at Florida State Hospital and that hospital is in Gadsden County, jurisdiction for the Petition for Writ of Habeas Corpus is in Gadsden County.
Accordingly, this cause is reversed and remanded with directions that the petition be considered on the merits.
MILLS, Acting C. J., BOOTH, J., and MASON, ERNEST E., Associate Judge, concur.
